               Case 2:18-cv-01568-JEO Document 13 Filed 11/26/18 Page 1 of 2                                    FILED
                                                                                                       2018 Nov-26 PM 03:49
                                                                                                       U.S. DISTRICT COURT
                                                                                                           N.D. OF ALABAMA

                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION




 Hughes                                         l
                                                l
                   Plaintiff                    l         Case No. 2:18-cv-01568-JEO
                                                l
          v.                                    }
                                                l
 Craft Electric Co Inc
                                                l
                                                l
                                                }
                   Defendant                    l

INSTRUCTIONS: Please indicate below by checking one of the two boxes whether you (if you are the
party) or the party you represent(ifyou are an attorney in the case) choose(s) to consent or decline
magistrate judge jurisdiction in this matter. Sign this form below your selection;

 ~      Consent to Magistrate Judge Jurisdiction
      In accordance with the provisions of 28 U.S.C. § 636(c), I voluntarily consent to have a
United States magistrate judge conduct all further proceedings in this case, including trial and
entry of final judgment. I understand that appeal from the judgment shall be taken directly to the
United States Court of Appeals for the Eleventh Circuit.



 D      Decline Magistrate Judge Jurisdiction
      In accordance with the provisions of 28 U .S.C. § 636(c ), 1 decline to have a United States
magistrate judge conduct all further proceedings in this case and I hereby request that this case be
reassigned to a United States district judge.



DATE:      November 26, 2018                     NAME:    Kira Y Fonteneau
                                         COUNSEL FOR
                                         (OR "PRO SE"):   Joshua Hughes
                Case 2:18-cv-01568-JEO Document 13 Filed 11/26/18 Page 2 of 2


                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION




 Hughes                                            l
                                                   l
                    Plaintiff                      )         Case No. 2:18-cv-01568-JEO
                                                   )
           v.                                      )
                                                   )
                                                   )
 Craft Electric Co Inc                             )
                                                   )
                    Defendant                      }


INSTRUCTIONS: . Please indicate belowby checking one of the two boxes whether you (ifyou are .the
                                        are
party) or the party you represent (if you     an 11ttorney in the case) .choose(s}Jo consentpr<'lecli!i,e
magistrate judge jurisdiction in this matter. Sign this. form below.your s¢1ection ..

 ~      Consent to Magistrate Judge Jurisdiction
      In accordance with the provisions of28 U.S.C. § 636(c), I voluntarily consent to have a
United States magistrate judge conduct all further proceedings in this case, including trial and
entry of final judgment. I understand that appeal from the judgment shall be taken directly to the
United States Court of Appeals for the Eleventh Circuit.



 D      Decline Magistrate Judge Jurisdiction
       In accordance with the provisions of28 U.S.C. § 636(c), I decline to have a United States
magistrate judge conduct all further proceedings in this case and I hereby request that this case be
reassigned to a United States district judge.



DATE:       November 21, 2018                      NAME:     Mary 0&#039;Keefe 0&#039;Neill
                                           COUNSEL FOR
                                           (OR "PRO SE"):   Craft Electric Company, Inc.
